Case 3:18-cv-04865-EMC Document 170-2 Filed 12/12/18 Page 1 of 14




            EXHIBIT B
                            Case 3:18-cv-04865-EMC Document 170-2 Filed 12/12/18 Page 2 of 14


Morningstar Equity Research




Tesla Inc TSLA (NAS) | Q
Last Price            Fair Value            Uncertainty              Economic Moat™                     Moat Trend™                Stewardship               Industry Group
341.99 USD            179.00 USD            Very High                None                               Positive                   Standard                  Autos



Musk Tweets Tesla May Go Private at $420 a Share but                                                                                                                                    Vital Statistics

Stockholders May Not Have to Sell at That Price                                                                                                                                         Market Cap (USD Mil)                                                                             58,068
                                                                                                                                                                                        52-Week High (USD)                                                                               389.61
                                                                                                                                                                                        52-Week Low (USD)                                                                                244.59
David Whiston, CFA, CPA, CFE                                    Analyst Note                         07 Aug 2018                                                                        52-Week Total Return %                                                                               -4.2
Sector Strategist
                                                                                                                                                                                        YTD Total Return %                                                                                    9.8
david.whiston@morningstar.com                                   Tesla CEO Elon Musk tweeted around midday on Aug. 7 the
+1 312 384 5442                                                                                                                                                                         Last Fiscal Year End                                                                       31 Dec 2017
                                                                following: "Am considering taking Tesla private at $420.
                                                                                                                                                                                        5-Yr Forward Revenue CAGR %                                                                         33.0
                                                                Funding Secured." A buyout price of $420 per share would                                                                5-Yr Forward EPS CAGR %                                                                               —
                                                                be for about $71.6 billion based on the July 27 outstanding                                                             Price/Fair Value                                                                                    1.91

Important Disclosure
                                                                share count of 170.6 million in the latest 10-Q filing, though                                                          Valuation Summary and Forecasts
The conduct of Morningstar’s analysts is                        it's unclear if Musk's roughly 22% ownership stake would                                                                                                    Fiscal Year:       2016             2017          2018(E)     2019(E)
governed by Code of Ethics/Code of Conduct                                                                                                                                              Price/Earnings                                        NM                NM              NM          95.0
Policy, Personal Security Trading Policy (or                    be part of the deal or just converted into equity of a new
an equivalent of), and Investment Research                                                                                                                                              EV/EBITDA                                            115.2               —             136.2        24.3
Policy. For information regarding conflicts
                                                                private company. If a deal is announced and we think its                                                                EV/EBIT                                               NM                 —              NM          NM
of interest, visit http://global.morningstar                    execution is more likely than not, we will raise our fair value                                                         Free Cash Flow Yield %                                -1.8               —              -3.2         0.0
.com/equitydisclosures
                                                                estimate to the deal price, but for now we are leaving our                                                              Dividend Yield %                                       —                 —               —           —
The primary analyst covering this company                       fair value estimate of $179 in place.
does not own its stock.
                                                                                                                                                                                        Financial Summary and Forecasts (USD Mil)
Research as of 07 Aug 2018                                                                                                                                                                                                  Fiscal Year:
Estimates as of 01 Aug 2018                                     We find it odd that Musk would disclose that he is                                                                                                                             2016             2017          2018(E)     2019(E)

Pricing data through 06 Aug 2018 00:00                                                                                                                                                  Revenue                                              7,000          11,759            21,009     28,775
Rating updated as of 06 Aug 2018 00:00
                                                                considering doing a deal and specifying a price rather than
                                                                                                                                                                                        Revenue YoY %                                          73.0            68.0             78.7        37.0
                                                                not saying anything until Tesla actually announces it is going
                                                                                                                                                                                        EBIT                                                  -652          -1,632            -1,405        -150
Currency amounts expressed with "$" are in                      private. It is possible that he wants to hurt short sellers of
U.S. dollars (USD) unless otherwise denoted.                                                                                                                                            EBIT YoY %                                             -9.1          150.5             -13.9       -89.3
                                                                Tesla now. He has been very vocal against them recently,                                                                Net Income, Adjusted                                  -414          -1,436              -797         646
Contents                                                        including posting a satire video on Twitter on Aug. 5. We                                                               Net Income YoY %                                     -40.1           247.0             -44.5      -181.1

                                                                think it is also possible that he wants to get a price higher                                                           Diluted EPS                                          -2.87            -8.66            -4.69        3.60
   Analyst Note                                       1
                                                                                                                                                                                        Diluted EPS YoY %                                    -46.8           201.9             -45.9      -176.7
   Morningstar Analyst Forecasts                      3         than $420, else we would expect him to simply announce
                                                                                                                                                                                        Free Cash Flow                                        -916          -3,697            -2,041        -603
Methodology for Valuing Companies                     7         he is considering going private with funding secured and
                                                                                                                                                                                        Free Cash Flow YoY %                                 -46.4           303.7             -44.8       -70.5
                                                                leave the $420 number out of the tweet. We speculate that                                                               Historical/forecast data sources are Morningstar Estimates and may reflect adjustments.
                                                                the funding comes mostly from tech investors, such as                                                                   Analyst Note: Operating income includes stock based comp expense but EPS excludes stock
                                                                                                                                                                                        option expense.
                                                                possibly SoftBank or Tencent (the latter bought 5% of Tesla
                                                                                                                                                                                        Profile
                                                                in 2017), sovereign wealth funds, and wealthy Silicon Valley
                                                                investors.                                                                                                              Founded in 2003 and based in Palo Alto, California, Tesla is a vertically
                                                                                                                                                                                        integrated sustainable energy company that also aims to transition the
                                                                                                                                                                                        world to electric mobility by making electric vehicles. It sells solar panels
                                                                We understand why Musk would want to go private. Rolling
                                                                                                                                                                                        and solar roofs for energy generation plus batteries for stationary storage
                                                                Stone in November quoted him saying, "I wish we could be                                                                for residential and commercial properties including utilities. The Tesla
                                                                private with Tesla. It actually makes us less efficient to be                                                           Roadster debuted in 2008, Model S in 2012, Model X in 2015, and Model
                                                                                                                                                                                        3 in 2017. Global deliveries in 2017 were 103,184 units. Tesla went public
                                                                a public company." Tesla is still in its early stages of growth,                                                        in 2010 and employs about 40,000 people.
                                                                and we think Musk would prefer to grow the company
                                                                without having to check in with Wall Street every quarter.
                                                                He probably instead wants investors who are there for the
                                                                long run. An Aug. 7 Musk tweet said he would create a
                                                                special-purpose fund allowing any Tesla investor to remain


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                            Case 3:18-cv-04865-EMC Document 170-2 Filed 12/12/18 Page 3 of 14


Morningstar Equity Research




Tesla Inc TSLA (NAS) | Q
Last Price            Fair Value            Uncertainty              Economic Moat™                     Moat Trend™                Stewardship               Industry Group
341.99 USD            179.00 USD            Very High                None                               Positive                   Standard                  Autos




                                                                an owner or to sell at $420.




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                            Case 3:18-cv-04865-EMC Document 170-2 Filed 12/12/18 Page 4 of 14


Morningstar Equity Research




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Last Price            Fair Value            Uncertainty              Economic Moat™                     Moat Trend™                Stewardship               Industry Group
341.99 USD            179.00 USD            Very High                None                               Positive                   Standard                  Autos



Morningstar Analyst Forecasts

                                                                Financial Summary and Forecasts
                                                                Fiscal Year Ends in December                                                                                                                                                                        Forecast
                                                                                                                                                         3-Year                                                                                                                               5-Year
                                                                Growth (% YoY)                                                                      Hist. CAGR                    2015                  2016                  2017                   2018                     2019       Proj. CAGR
                                                                Revenue                                                                                  48.4                  12.4                   73.0                  68.0                 78.7                    37.0                33.0
                                                                EBIT                                                                                      —                   589.0                   -9.1                 150.5                -13.9                   -89.3                 —
                                                                EBITDA                                                                                  -68.7                -329.9                 -200.5                 -98.7             12,301.8                   461.4               334.8
                                                                Net Income                                                                             -517.0              -3,590.1                  -40.1                 247.0                -44.5                  -181.1                 —
                                                                Diluted EPS                                                                            -496.3              -3,971.8                  -46.8                 201.9                -45.9                  -176.7                 —
                                                                Earnings Before Interest, after Tax                                                       —                   562.6                   -5.1                  83.8                 36.1                   -89.3                 —
                                                                Free Cash Flow                                                                            —                    58.8                  -46.4                 303.7                -44.8                   -70.5                 —

                                                                                                                                                        3-Year                                                                                                                               5-Year
                                                                Profitability                                                                         Hist. Avg                   2015                  2016                  2017                   2018                     2019         Proj. Avg

                                                                Operating Margin %                                                                       -13.6                  -17.7                  -9.3                 -13.9                   -6.7                  -0.5                -0.1
                                                                EBITDA Margin %                                                                           -1.0                   -7.3                   4.2                   0.0                    2.3                   9.5                10.5
                                                                Net Margin %                                                                             -11.7                  -17.1                  -5.9                 -12.2                   -3.8                   2.3                 2.6
                                                                Free Cash Flow Margin %                                                                  -28.9                  -42.2                 -13.1                 -31.4                   -9.7                  -2.1                -0.8
                                                                ROIC %                                                                                   -11.1                  -18.4                  -6.1                  -8.8                   -6.1                  -0.1                 1.7
                                                                Adjusted ROIC %                                                                          -11.1                  -18.4                  -6.1                  -8.8                   -6.1                  -0.1                 1.7
                                                                Return on Assets %                                                                        -8.7                  -13.4                  -5.0                  -7.6                   -5.9                  -1.7                -0.8
                                                                Return on Equity %                                                                       -49.2                  -78.1                 -25.9                 -43.6                  -48.3                 -15.6                -6.5

                                                                                                                                                        3-Year                                                                                                                               5-Year
                                                                Leverage                                                                              Hist. Avg                   2015                  2016                  2017                   2018                     2019         Proj. Avg

                                                                Debt/Capital                                                                            0.67                     0.70                 0.60                0.71                     0.80                   0.75                0.75
                                                                Total Debt/EBITDA                                                                     882.81                    -9.01                24.09            2,633.36                    21.65                   4.59                6.60
                                                                EBITDA/Interest Expense                                                                -0.33                    -2.47                 1.49                0.01                     0.78                   4.36                6.43


                                                                Valuation Summary and Forecasts                                                                                         Discounted Cash Flow Valuation
                                                                                                                       2016            2017        2018(E)         2019(E)                                                                                              Firm Value        Per Share
                                                                                                                                                                                                                                                        USD Mil                (%)            Value
                                                                Price/Fair Value                                      1.21            1.53            —                —
                                                                                                                                                                                        Present Value Stage I                                            4,363                  13.4        25.66
                                                                Price/Earnings                                        NM              NM             NM               95.0
                                                                                                                                                                                        Present Value Stage II                                           1,021                   3.1         6.00
                                                                EV/EBITDA                                            115.2             —            136.2             24.3
                                                                                                                                                                                        Present Value Stage III                                         27,120                  83.4       159.53
                                                                EV/EBIT                                               NM               —             NM               NM
                                                                                                                                                                                        Total Firm Value                                                 32,504                100.0        191.20
                                                                Free Cash Flow Yield %                                -1.8             —             -3.2              0.0
                                                                Dividend Yield %                                       —               —              —                —
                                                                                                                                                                                        Cash and Equivalents                                             3,368                   —           19.81
                                                                                                                                                                                        Debt                                                           -10,315                   —          -60.68
                                                                Key Valuation Drivers                                                                                                   Preferred Stock                                                     —                    —             —
                                                                Cost of Equity %                                                                                         11.0           Other Adjustments                                                3,082                   —           18.13
                                                                Pre-Tax Cost of Debt %                                                                                    8.0           Equity Value                                                     28,638                      —      168.46
                                                                Weighted Average Cost of Capital %                                                                        9.9
                                                                Long-Run Tax Rate %                                                                                      20.0           Projected Diluted Shares                                             170
                                                                Stage II EBI Growth Rate %                                                                               11.5
                                                                Stage II Investment Rate %                                                                               57.5           Fair Value per Share (USD)                                       179.00
                                                                Perpetuity Year                                                                                            11                The data in the table above represent base-case forecasts in the company’s reporting
                                                                                                                                                                                        currency as of the beginning of the current year. Our fair value estimate may differ from the
                                                                Additional estimates and scenarios available for download at http://select.morningstar.com.                             equity value per share shown above due to our time value of money adjustment and in cases
                                                                                                                                                                                        where probability-weighted scenario analysis is performed.




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                            Case 3:18-cv-04865-EMC Document 170-2 Filed 12/12/18 Page 5 of 14


Morningstar Equity Research




Tesla Inc TSLA (NAS) | Q
Last Price            Fair Value            Uncertainty              Economic Moat™                     Moat Trend™                Stewardship               Industry Group
341.99 USD            179.00 USD            Very High                None                               Positive                   Standard                  Autos



Morningstar Analyst Forecasts

                                                                Income Statement (USD Mil)
                                                                Fiscal Year Ends in December                                                                                                                                                                                   Forecast
                                                                                                                                                                                                     2015                   2016                  2017                  2018               2019
                                                                Revenue                                                                                                                            4,046                 7,000                11,759                21,009             28,775

                                                                Cost of Goods Sold                                                                                                                 3,103                 5,370                  9,492               16,395             21,172
                                                                Gross Profit                                                                                                                         943                 1,630                  2,266                4,614              7,603

                                                                Selling, General & Administrative Expenses                                                                                           833                 1,267                 2,271                 3,015                3,725
                                                                Research & Development                                                                                                               629                   680                 1,160                 2,059                2,734
                                                                Employee Compensation & Benefits                                                                                                     198                   334                   467                   945                1,295
                                                                Depreciation & Amortization (if reported separately)                                                                                  —                     —                     —                     —                    —
                                                                Operating Income (ex charges)                                                                                                       -717                  -652                -1,632                -1,405                 -150

                                                                Restructuring & Other Cash Charges                                                                                                    —                      16                   —                     —                   —
                                                                Impairment Charges (if reported separately)                                                                                           —                      —                    —                     —                   —
                                                                Other Non-Cash (Income)/Charges                                                                                                       —                      —                    —                     —                   —
                                                                Operating Income (incl charges)                                                                                                     -717                   -667               -1,632                -1,405                -150

                                                                Interest Expense                                                                                                                     119                    199                  471                   620                 626
                                                                Interest Income                                                                                                                        2                      9                   20                     5                   5
                                                                Pre-Tax Income                                                                                                                      -834                   -858               -2,084                -2,020                -771

                                                                Income Tax Expense                                                                                                                      13                    27                    32                 -202                 -77

                                                                Other After-Tax Cash Gains (Losses)                                                                                                   —                      —                    —                     —                   —
                                                                Other After-Tax Non-Cash Gains (Losses)                                                                                              -42                    121                  154                   170                 175
                                                                (Minority Interest)                                                                                                                   —                      —                    —                     —                   —
                                                                (Preferred Dividends)                                                                                                                 —                      —                    —                     —                   —
                                                                Net Income                                                                                                                          -889                   -764               -1,961                -1,648                -519

                                                                Weighted Average Diluted Shares Outstanding                                                                                          128                   144                   166                    170                 180
                                                                Diluted Earnings Per Share                                                                                                         -6.93                  -5.30               -11.83                  -9.69               -2.89

                                                                Adjusted Net Income                                                                                                                 -691                   -414               -1,436                   -797                 646
                                                                Diluted Earnings Per Share (Adjusted)                                                                                              -5.39                  -2.87                -8.66                  -4.69                3.60

                                                                Dividends Per Common Share                                                                                                             —                     —                      —                     —                 —

                                                                EBITDA                                                                                                                              -294                    280                       4                  486              2,727
                                                                Adjusted EBITDA                                                                                                                     -294                    296                       4                  486              2,727




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                            Case 3:18-cv-04865-EMC Document 170-2 Filed 12/12/18 Page 6 of 14


Morningstar Equity Research




Tesla Inc TSLA (NAS) | Q
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341.99 USD            179.00 USD            Very High                None                               Positive                   Standard                  Autos



Morningstar Analyst Forecasts

                                                                Balance Sheet (USD Mil)
                                                                Fiscal Year Ends in December                                                                                                                                                                                         Forecast
                                                                                                                                                                                                        2015                  2016                   2017                     2018               2019

                                                                Cash and Equivalents                                                                                                                  1,197                 3,393                 3,368                  1,116                4,108
                                                                Investments                                                                                                                              —                     —                     —                      —                    —
                                                                Accounts Receivable                                                                                                                     169                   499                   515                  1,151                1,577
                                                                Inventory                                                                                                                             1,278                 2,067                 2,264                  4,043                5,220
                                                                Deferred Tax Assets (Current)                                                                                                            —                     —                     —                      —                    —
                                                                Other Short Term Assets                                                                                                                 170                   568                   865                    865                  865
                                                                Current Assets                                                                                                                        2,814                 6,528                 7,012                  7,175               11,770

                                                                Net Property Plant, and Equipment                                                                                                     3,403               11,903                16,375                 16,964                18,117
                                                                Goodwill                                                                                                                                 —                    —                     60                    120                   180
                                                                Other Intangibles                                                                                                                        13                  376                   362                    367                   372
                                                                Deferred Tax Assets (Long-Term)                                                                                                          —                    —                     —                      —                     —
                                                                Other Long-Term Operating Assets                                                                                                      1,791                3,134                 4,117                  1,528                 1,681
                                                                Long-Term Non-Operating Assets                                                                                                           47                  723                   730                    900                 1,075
                                                                Total Assets                                                                                                                          8,068               22,664                28,655                 27,054                33,195

                                                                Accounts Payable                                                                                                                        916                 1,860                 2,390                  4,267                5,510
                                                                Short-Term Debt                                                                                                                         628                 1,150                   897                  1,100                1,100
                                                                Deferred Tax Liabilities (Current)                                                                                                       —                     —                     —                      —                    —
                                                                Other Short-Term Liabilities                                                                                                          1,267                 2,817                 4,388                  4,478                5,374
                                                                Current Liabilities                                                                                                                   2,811                 5,827                 7,675                  9,845               11,984

                                                                Long-Term Debt                                                                                                                        2,021                5,970                 9,418                  9,418                11,418
                                                                Deferred Tax Liabilities (Long-Term)                                                                                                     —                    —                     —                      —                     —
                                                                Other Long-Term Operating Liabilities                                                                                                 1,740                3,062                 3,487                  1,224                 1,591
                                                                Long-Term Non-Operating Liabilities                                                                                                     365                1,891                 2,443                  2,443                 2,443
                                                                Total Liabilities                                                                                                                     6,937               16,750                23,023                 22,930                27,436

                                                                Preferred Stock                                                                                                                          —                     —                     —                     —                     —
                                                                Common Stock                                                                                                                              0                     0                     0                     0                     0
                                                                Additional Paid-in Capital                                                                                                            3,409                 7,774                 9,178                 9,178                11,178
                                                                Retained Earnings (Deficit)                                                                                                          -2,322                -2,997                -4,974                -6,622                -7,141
                                                                (Treasury Stock)                                                                                                                         —                     —                     —                     —                     —
                                                                Other Equity                                                                                                                             44                   -15                    33                    33                    33
                                                                Shareholder's Equity                                                                                                                  1,131                 4,762                 4,237                 2,589                 4,070

                                                                Minority Interest                                                                                                                        —                  1,152                 1,395                  1,535                  1,688
                                                                Total Equity                                                                                                                          1,131                 5,914                 5,632                  4,124                  5,758




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                            Case 3:18-cv-04865-EMC Document 170-2 Filed 12/12/18 Page 7 of 14


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Tesla Inc TSLA (NAS) | Q
Last Price            Fair Value            Uncertainty              Economic Moat™                     Moat Trend™                Stewardship               Industry Group
341.99 USD            179.00 USD            Very High                None                               Positive                   Standard                  Autos



Morningstar Analyst Forecasts

                                                                Cash Flow (USD Mil)
                                                                Fiscal Year Ends in December                                                                                                                                                                                         Forecast
                                                                                                                                                                                                        2015                  2016                   2017                     2018                2019

                                                                Net Income                                                                                                                             -889                   -773               -2,241                -1,648                    -519

                                                                Depreciation                                                                                                                            423                    947                1,636                  1,891                  2,877
                                                                Amortization                                                                                                                             —                      —                    —                      —                      —
                                                                Stock-Based Compensation                                                                                                                198                    334                  467                    945                  1,295
                                                                Impairment of Goodwill                                                                                                                   —                      —                    —                      —                      —
                                                                Impairment of Other Intangibles                                                                                                          —                      —                    —                      —                      —
                                                                Deferred Taxes                                                                                                                           —                      —                    —                      —                      —
                                                                Other Non-Cash Adjustments                                                                                                              237                     62                  574                   -170                   -175

                                                                (Increase) Decrease in Accounts Receivable                                                                                               46                  -217                   -25                  -636                     -426
                                                                (Increase) Decrease in Inventory                                                                                                     -1,574                -2,466                -1,701                -1,779                   -1,178
                                                                Change in Other Short-Term Assets                                                                                                       -54                     7                   -88                     5                        5
                                                                Increase (Decrease) in Accounts Payable                                                                                                 263                   751                   388                 1,877                    1,243
                                                                Change in Other Short-Term Liabilities                                                                                                1,394                 2,000                 1,440                    90                      896
                                                                Cash From Operations                                                                                                                     44                   646                   451                   576                    4,019

                                                                (Capital Expenditures)                                                                                                              -1,635                 -1,281                -3,415                -2,450                   -4,000
                                                                Net (Acquisitions), Asset Sales, and Disposals                                                                                         -12                    214                  -115                  -100                     -100
                                                                Net Sales (Purchases) of Investments                                                                                                    —                      17                    —                     —                        —
                                                                Other Investing Cash Flows                                                                                                             -26                   -366                  -890                   325                      214
                                                                Cash From Investing                                                                                                                 -1,674                 -1,416                -4,419                -2,225                   -3,886

                                                                Common Stock Issuance (or Repurchase)                                                                                                   750                 1,702                   400                     —                    2,000
                                                                Common Stock (Dividends)                                                                                                                 —                     —                     —                      —                       —
                                                                Short-Term Debt Issuance (or Retirement)                                                                                                 —                     —                     —                     203                      —
                                                                Long-Term Debt Issuance (or Retirement)                                                                                                 319                 2,853                 7,138                     —                    2,000
                                                                Other Financing Cash Flows                                                                                                             -114                -1,580                -3,635                   -806                  -1,141
                                                                Cash From Financing                                                                                                                     955                 2,974                 3,904                   -602                   2,859

                                                                Exchange Rates, Discontinued Ops, etc. (net)                                                                                            -34                    -7                      39                  —                       —
                                                                Net Change in Cash                                                                                                                     -709                 2,196                     -25              -2,252                   2,992




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                               Case 3:18-cv-04865-EMC Document 170-2 Filed 12/12/18 Page 8 of 14

Research Methodology for Valuing Companies

Overview                                                                                     and (4) the current market price. This process ultimately                                                 capital. Returns of firms with a wide economic moat rat-
At the heart of our valuation system is a detailed                                           culminates in our single-point star rating.                                                               ing are assumed to fade to the perpetuity period over a
projection of a company’s future cash flows, re-                                                                                                                                                       longer period of time than the returns of narrow-moat
sulting from our analysts’ research. Analysts cre-                                           1. Economic Moat                                                                                          firms, and both will fade slower than no-moat firms, in-
ate custom industry and company assumptions                                                  The concept of an economic moat plays a vital role not                                                    creasing our estimate of their intrinsic value.
to feed income statement, balance sheet, and                                                 only in our qualitative assessment of a firm’s long-term
capital investment assumptions into our globally                                             investment potential, but also in the actual calculation                                                  Our model is divided into three distinct stages:
standardized, proprietary discounted cash flow,                                              of our fair value estimates. An economic moat is a
or DCF, modeling templates. We use scenario                                                  structural feature that allows a firm to sustain excess                                                   Stage I: Explicit Forecast
analysis, in-depth competitive advantage analy-                                              profits over a long period of time. We define economic                                                    In this stage, which can last five to 10 years, analysts
sis, and a variety of other analytical tools to aug-                                         profits as returns on invested capital (or ROIC) over and                                                 make full financial statement forecasts, including items
ment this process. Moreover, we think analyzing                                              above our estimate of a firm’s cost of capital, or weight-                                                such as revenue, profit margins, tax rates, changes in
valuation through discounted cash flows pres-                                                ed average cost of capital (or WACC). Without a moat,                                                     working-capital accounts, and capital spending. Based
ents a better lens for viewing cyclical companies,                                           profits are more susceptible to competition. We have                                                      on these projections, we calculate earnings before in-
high-growth firms, businesses with finite lives                                              identified five sources of economic moats: intangible                                                     terest, after taxes (EBI) and the net new investment
(e.g., mines), or companies expected to generate                                             assets, switching costs, network effect, cost advantage,                                                  (NNI) to derive our annual free cash flow forecast.
negative earnings over the next few years. That                                              and efficient scale.
said, we don’t dismiss multiples altogether but                                                                                                                                                        Stage II: Fade
rather use them as supporting cross-checks for                                               Companies with a narrow moat are those we believe                                                         The second stage of our model is the period it will take
our DCF-based fair value estimates. We also ac-                                              are more likely than not to achieve normalized excess                                                     the company’s return on new invested capital—the re-
knowledge that DCF models offer their own chal-                                              returns for at least the next 10 years. Wide-moat com-                                                    turn on capital of the next dollar invested (“RONIC”)—
lenges (including a potential proliferation of esti-                                         panies are those in which we have very high confi-                                                        to decline (or rise) to its cost of capital. During the Stage
mated inputs and the possibility that the method                                             dence that excess returns will remain for 10 years, with                                                  II period, we use a formula to approximate cash flows in
may miss short-term market-price movements),                                                 excess returns more likely than not to remain for at                                                      lieu of explicitly modeling the income statement, bal-
but we believe these negatives are mitigated by                                              least 20 years. The longer a firm generates economic                                                      ance sheet, and cash flow statement as we do in Stage
deep analysis and our long-term approach.                                                    profits, the higher its intrinsic value. We believe low-                                                  I. The length of the second stage depends on the
                                                                                             quality, no-moat companies will see their normalized                                                      strength of the company’s economic moat. We forecast
 Morningstar’s equity research group (“we”,                                                  returns gravitate toward the firm’s cost of capital more                                                  this period to last anywhere from one year (for compa-
“our”) believes that a company’s intrinsic worth                                             quickly than companies with moats.                                                                        nies with no economic moat) to 10–15 years or more (for
 results from the future cash flows it can generate.                                                                                                                                                   wide-moat companies). During this period, cash flows
The Morningstar Rating for stocks identifies                                                 To assess the sustainability of excess profits, analysts                                                  are forecast using four assumptions: an average growth
 stocks trading at a discount or premium to their                                            perform ongoing assessments of the moat trend. A                                                          rate for EBI over the period, a normalized investment
 intrinsic worth—or fair value estimate, in Morn-                                            firm’s moat trend is positive in cases where we think its                                                 rate, average return on new invested capital (RONIC),
 ingstar terminology. Five-star stocks sell for the                                          sources of competitive advantage are growing stron-                                                       and the number of years until perpetuity, when excess
 biggest risk-adjusted discount to their fair values,                                        ger; stable where we don’t anticipate changes to com-                                                     returns cease. The investment rate and return on new
 whereas 1-star stocks trade at premiums to their                                            petitive advantages over the next several years; or neg-                                                  invested capital decline until a perpetuity value is calcu-
 intrinsic worth.                                                                            ative when we see signs of deterioration.                                                                 lated. In the case of firms that do not earn their cost of
                                                                                                                                                                                                       capital, we assume marginal ROICs rise to the firm’s
Four key components drive the Morningstar rat-                                               2. Estimated Fair Value                                                                                   cost of capital (usually attributable to less reinvestment),
ing: (1) our assessment of the firm’s economic                                               Combining our analysts’ financial forecasts with the                                                      and we may truncate the second stage.
moat, (2) our estimate of the stock’s fair value, (3)                                        firm’s economic moat helps us assess how long returns
our uncertainty around that fair value estimate                                              on invested capital are likely to exceed the firm’s cost of                                               Stage III: Perpetuity
                                                                                                                                                                                                       Once a company’s marginal ROIC hits its cost of capital,
                                                                                                                                                                                                       we calculate a continuing value, using a standard per-
Morningstar Research Methodology for Valuing Companies
                                                                                                                                                                                                       petuity formula. At perpetuity, we assume that any
                                                                                                                                                                                                       growth or decline or investment in the business neither
 Economic Moat
                                                                                                                                                                                                       creates nor destroys value and that any new investment
 Financial Health
                                                                                                                                       Morningstar RatingTM For Stocks
                                                                                                                                                                                                       provides a return in line with estimated WACC.
 Stewardship                                Morningstar Fair Value                           Margin of Safety
 Uncertainty                                                                                 Market Pricing                            QQQQQ
 Moat Trend                                                                                                                                                                                            Because a dollar earned today is worth more than a dol-
                                                                                                                                                                                                       lar earned tomorrow, we discount our projections of
                                                                                                                                                                                                       cash flows in stages I, II, and III to arrive at a total pres-
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 Research Methodology for Valuing Companies

 ent value of expected future cash flows. Because                                          3Medium: margin of safety for 5-star rating is a 30%                                                         a whole is more undervalued, in our opinion, than when
 we are modeling free cash flow to the firm—rep-                                            discount and for 1-star rating is 35% premium.                                                              very few companies garner our highest rating.
 resenting cash available to provide a return to all                                       3High: margin of safety for 5-star rating is a 40%
 capital providers—we discount future cash                                                  discount and for 1-star rating is 55% premium.                                                              We expect that if our base-case assumptions are true
 flows using the WACC, which is a weighted aver-                                           3Very High: margin of safety for 5-star rating is a 50%                                                      the market price will converge on our fair value estimate
 age of the costs of equity, debt, and preferred                                            discount and for 1-star rating is 75% premium.                                                              over time, generally within three years (although it is
 stock (and any other funding sources), using ex-                                          3Extreme: Stock’s uncertainty exceeds the parameters                                                         impossible to predict the exact time frame in which
 pected future proportionate long-term, market-                                             we have set for assigning the appropriate margin of safety.                                                 market prices may adjust).
 value weights.
                                                                                              4. Market Price                                                                                           Our star ratings are guideposts to a broad audience and
 3. Uncertainty around that fair value estimate                                               The market prices used in this analysis and noted in the                                                  individuals must consider their own specific investment
 Morningstar’s Uncertainty Rating captures a                                                  report come from exchange on which the stock is listed                                                    goals, risk tolerance, tax situation, time horizon, in-
 range of likely potential intrinsic values for a                                             which we believe is a reliable source.                                                                    come needs, and complete investment portfolio, among
 company and uses it to assign the margin of safe-                                                                                                                                                      other factors.
 ty required before investing, which in turn explic-                                          For more detail information about our methodology, please
 itly drives our stock star rating system. The Un-                                            go to http://global.morningstar.com/equitydisclosures                                                     The Morningstar Star Ratings for stocks are defined below:
 certainty Rating represents the analysts’ ability
 to bound the estimated value of the shares in a                                              Morningstar Star Rating for Stocks                                                                        Five Stars QQQQQ
 company around the Fair Value Estimate, based                                                Once we determine the fair value estimate of a stock,                                                     We believe appreciation beyond a fair risk-adjusted re-
 on the characteristics of the business underlying                                            we compare it with the stock’s current market price on                                                    turn is highly likely over a multiyear time frame. Scenar-
 the stock, including operating and financial lever-                                          a daily basis, and the star rating is automatically re-cal-                                               io analysis developed by our analysts indicates that the
 age, sales sensitivity to the overall economy,                                               culated at the market close on every day the market on                                                    current market price represents an excessively pessi-
 product concentration, pricing power, and other                                              which the stock is listed is open. Our analysts keep                                                      mistic outlook, limiting downside risk and maximizing
 company-specific factors.                                                                    close tabs on the companies they follow, and, based on                                                    upside potential.
                                                                                              thorough and ongoing analysis, raise or lower their fair
 Analysts consider at least two scenarios in addi-                                            value estimates as warranted.                                                                             Four Stars QQQQ
 tion to their base case: a bull case and a bear                                                                                                                                                        We believe appreciation beyond a fair risk-adjusted re-
 case. Assumptions are chosen such that the ana-                                              Please note, there is no predefined distribution of stars.                                                turn is likely.
 lyst believes there is a 25% probability that the                                            That is, the percentage of stocks that earn 5 stars can
 company will perform better than the bull case,                                              fluctuate daily, so the star ratings, in the aggregate,                                                   Three Stars QQQ
 and a 25% probability that the company will per-                                             can serve as a gauge of the broader market’s valuation.                                                   Indicates our belief that investors are likely to receive a
 form worse than the bear case. The distance be-                                              When there are many 5-star stocks, the stock market as                                                    fair risk-adjusted return (approximately cost of equity).
 tween the bull and bear cases is an important in-
 dicator of the uncertainty underlying the fair
 value estimate.                                                                              Morningstar Research Methodology for Valuing Companies

                                                                                               Price/Fair Value
 Our recommended margin of safety widens as
                                                                                               2.75                                                                                                                                                                                        • 1 Star
 our uncertainty of the estimated value of the eq-
                                                                                                                                                                                                                —                                     — 175%
 uity increases. The more uncertain we are about
 the estimated value of the equity, the greater the                                            2.25                                                                                                   —155%                                                                                • 2 Star

 discount we require relative to our estimate of                                                                                                     — 135%
                                                                                                      —125%                                                                                                                                                                       125% —
 the value of the firm before we would recom-                                                  1.75                                                                                                                              115% —                                                    • 3 Star
                                                                                                                                105% —                                 —        110% —
 mend the purchase of the shares. In addition, the
                                                                                                      — 95%
 uncertainty rating provides guidance in portfolio                                                                                                   — 90%
                                                                                               1.25                               80% —                                                               — 85%                                                                                • 4 Star
                                                                                                                                                                                                           —                                          — 80%
 construction based on risk tolerance.                                                                                                                                 —         70% —
                                                                                                                                                                                                                                  60% —
                                                                                               0.75
                                                                                                                                                                                                                                                                                  50% — • 5 Star
 Our uncertainty ratings for our qualitative analysis
 are low, medium, high, very high, and extreme.
                                                                                               0.25

3Low: margin of safety for 5-star rating is a 20%                                                                  Low                                             Medium                                             High                                        Very High *

 discount and for 1-star rating is 25% premium.
                                                                                                * Occasionally a stock’s uncertainty will be too high for us to estimate, in which case we label it Extreme.


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Research Methodology for Valuing Companies

Two Stars QQ                                                                                Quantitative Valuation: Using the below terms, intend-
We believe investors are likely to receive a less                                           ed to denote the relationship between the security’s
than fair risk-adjusted return.                                                             Last Price and Morningstar’s quantitative fair value es-
                                                                                            timate for that security.
One Star Q
Indicates a high probability of undesirable risk- 3Undervalued: Last Price is below Morningstar’s quanti-
adjusted returns from the current market price      tative fair value estimate.
over a multiyear time frame, based on our analy- 3Farily Valued: Last Price is in line with Morningstar’s
sis. Scenario analysis by our analysts indicates    quantitative fair value estimate.
that the market is pricing in an excessively opti- 3Overvalued: Last Price is above Morningstar’s quantita-
mistic outlook, limiting upside potential and leav- tive fair value estimate.
ing the investor exposed to Capital loss.
                                                                                            Risk Warning
Other Definitions:                                                                          Please note that investments in securities are subject
                                                                                            to market and other risks and there is no assurance or
Last Price: Price of the stock as of the close of                                           guarantee that the intended investment objectives will
the market of the last trading day before date of                                           be achieved. Past performance of a security may or may
the report.                                                                                 not be sustained in future and is no indication of future
                                                                                            performance. A security investment return and an in-
Stewardship Rating: Represents our assessment                                               vestor’s principal value will fluctuate so that, when re-
of management’s stewardship of shareholder                                                  deemed, an investor’s shares may be worth more or
capital, with particular emphasis on capital allo-                                          less than their original cost. A security’s current invest-
cation decisions. Analysts consider companies’                                              ment performance may be lower or higher than the in-
investment strategy and valuation, financial le-                                            vestment performance noted within the report. Morn-
verage, dividend and share buyback policies, ex-                                            ingstar’s Uncertainty Rating serves as a useful data
ecution, compensation, related party transac-                                               point with respect to sensitivity analysis of the assump-
tions, and accounting practices. Corporate                                                  tions used in our determining a fair value price.
governance practices are only considered if
they’ve had a demonstrated impact on share-
holder value. Analysts assign one of three rat-
ings: “Exemplary,” “Standard,” and “Poor.” Ana-
lysts judge stewardship from an equity holder’s
perspective. Ratings are determined on an abso-
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Morningstar Equity Research




Tesla Inc TSLA (NAS) | Q
Last Price            Fair Value            Uncertainty              Economic Moat™                     Moat Trend™                Stewardship               Industry Group
341.99 USD            179.00 USD            Very High                None                               Positive                   Standard                  Autos




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341.99 USD            179.00 USD            Very High                None                               Positive                   Standard                  Autos




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                          Case 3:18-cv-04865-EMC Document 170-2 Filed 12/12/18 Page 13 of 14


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341.99 USD            179.00 USD            Very High                None                               Positive                   Standard                  Autos




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Tesla Inc TSLA (NAS) | Q
Last Price            Fair Value            Uncertainty              Economic Moat™                     Moat Trend™                Stewardship               Industry Group
341.99 USD            179.00 USD            Very High                None                               Positive                   Standard                  Autos




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